        Case: 24-40571
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               United States Court of Appeals
                    for the Fifth Circuit
                                                                      United States Court of Appeals
                                                                               Fifth Circuit

                                             FILED
                                     ___________
                                                                       October 4, 2024
                                      No. 24-40571                      Lyle W. Cayce
                                     ___________                             Clerk

       State of Texas; State of Alabama; State of Arkansas;
       State of Florida; State of Georgia; State of Iowa;
       State of Kansas; State of Louisiana; State of Missouri;
       State of North Dakota; State of Ohio; State of South
       Carolina; State of South Dakota; State of Tennessee;
       State of Wyoming; State of Idaho,

                                                               Plaintiffs—Appellees,

                                          versus

       United States Department of Homeland Security;
       Alejandro Mayorkas, in his official capacity as Secretary for DHS;
       Ur Mendoza Jaddou, in her official capacity as Director of USCIS;
       Troy Miller, in his official capacity as the Acting Commissioner of CBP;
       Patrick J. Lechleiter, in his official capacity as the Acting Director of
       ICE; Office of Management and Budget; Shalanda
       Young, in her official capacity as the Director of the Office of Management
       and Budget,

                                                             Defendants—Appellees,

       Oscar Silva Perez; Natalie Taylor; Salvador Doe;
       Justin Doe; Carmen Miranda Zayas; Ricardo Ocampo
       Hernandez; Jessika Ocampo Hernandez; Foday Turay;
       Jaxhiel Turay; Genaro Vicencio Palomino; Cindy
       Siqueiros Maduena; Coalition for Humane Immigrant
       Rights,

                                                              Movants—Appellants.
        Case: 24-40571
Case 6:24-cv-00306-JCB      Document:126
                            Document  117-2Filed
                                               Page: 2 Date
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                                                          Page     11/26/2024
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                                          No. 24-40571




                         ____________________________

                       Appeal from the United States District Court
                            for the Eastern District of Texas
                                 USDC No. 6:24-CV-306
                        ____________________________

       Before Smith, Clement, and Higginson, Circuit Judges.

                                     JUDGMENT

              This cause was considered on the record on appeal.
              IT IS ORDERED and ADJUDGED that the judgment of the
       District Court is AFFIRMED.
              IT IS FURTHER ORDERED that Appellants pay to Appellees
       the costs on appeal to be taxed by the Clerk of this Court.
              The judgment or mandate of this court shall issue 7 days after the time
       to file a petition for rehearing expires, or 7 days after entry of an order denying
       a timely petition for panel rehearing, petition for rehearing en banc, or motion
       for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
       may shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.




                                             Certified as a true copy and issued
                                             as the mandate on Nov 26, 2024
                                             Attest:
                                             Clerk, U.S. Court of Appeals, Fifth Circuit




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